Case:18-10965-TBM Doc#:109 Filed:06/26/18                   Entered:06/26/18 14:12:11 Page1 of 2



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

                                   Honorable Thomas B. McNamara

 In re:                                                 )
                                                        )
 11380 SMITH ROAD, LLC,                                 )       Case No. 18-10965 TMB
 EIN: XX-XXXXXXX,                                       )       Chapter 11
                                                        )
               Debtor.                                  )


                11380 SMITH ROAD, LLC'S CERTIFICATE OF NON-CONTESTED
                       MATTER AND REQUEST FOR ENTRY OF ORDER


               On May 15, the Creditor and Movant, 11380 EAST SMITH ROAD INVESTMENTS,

 LLC, filed a Motion or application pursuant to L.B.R. 9013-1 entitled Motion to Approve

 Stipulated Agreement between and among 11380 East Smith Road Investments, LLC, 11380 Smith

 Road, LLC and Louis Hard, Docket No. 98. On May 24, 2018, the Debtor, 11380 Smith Road,

 LLC filed its Notice pursuant to L.B.R 9013-1. The Debtor hereby certifies that the following is true

 and correct:

          1.        Service of the Motion and Notice were timely made on all parties against whom

 relief is sought pursuant to L.B.R. 9013-1, or in the manner permitted by an order of the Court,

 (Docket No. 107), as is shown on the certificate of service previously filed with the Court.

          2.        A Response date to said Motion and Notice was scheduled for June 15, 2018.

          3.        No objections or requests for hearing on the Motion were received by the

 undersigned or filed with the Court or, if filed, were withdrawn.

          WHEREFORE, the Debtor prays that the Court forthwith enter the Order a form of which is

 submitted contemporaneously herewith, granting the requested relief.
Case:18-10965-TBM Doc#:109 Filed:06/26/18            Entered:06/26/18 14:12:11 Page2 of 2



      DATED this 26th day of June, 2018.

                                           Respectfully submitted,

                                           BROWN DUNNING WALKER PC


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